Case 1:14-cv-00648-TCB Document 8-1 Filed 06/10/14 Page 1 of 1 PagelD# 86

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

~ APPLICATION TO QUALIFY AS A FOREIGN ATT ORNEY UNDER LOCAL CIVIL RULE 83.1¢D). AND LOCAL
CRIMINAL RULE 57.4 a
In Case Number |:!4-¢V-00bU% _, Case Name Mahdavi v. Nextfoear Capit al, duc. etal.
Party Represented by Applicant: N ext (rear C apital, Tue.

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia
21541 peRsoNAL STATEMENT

FULL NAME (no initials, pleasé) David Somme

Bar Identification Number : State Wb oo Fe vee (
Firm Name Gallawhw Evellys ke Fonts LLP
Firm Phone # Uip YIRT-770 2 Direct Dial# 410 Goi [4l4 FAX# Yin 4o$- ash

E-Mail Address ASommec(@ oe jlaw. com
Office Mailing Address 219 _ N. “Chace les Ct. Sie. Hoo ; alomen MO 2120)

Name(s) of federal court(s) in which I have been admitted USDC Man layed, USCA YG, USDE D. C.,

U- 5+ Supreme Coult”
I certify that the rules of the federal] court in the district in which J maintain my office extend a similar pro hae vice admission
privilege to members of the bar of the Eastern District of Virginia.

J have not been reprimanded in any court ner has there been ary action in any court pertaining to my conduct or fitness as a
member of the bar.

Thereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

Tam am not x a full-time employee of the United States of America, and if so, re ugh rom from the admission fee.
Bre

y CA.
(Applicants Siefature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

6 [10,14

="
(Signature) (Date)
Ashley by. Wiasky 2IZ2Y
(Typed/or Printed Name) / (VA Bar Number}
Court Use Only:
Clerk’s Fee Paid or Exemption Granted
The motion for admission is GRANTED or DENTE

(Judge’s Signature} (Date)
